         Case 3:21-cr-00042-JAG Document 72-6 Filed 04/22/22 Page 1 of 5 PageID# 726

                         Original Article


Selection of Appropriate Statistical Methods for Data Analysis

                                                                                                                              Prabhaker Mishra,
 In biostatistics, for each of the specific situation, statistical methods are available for analysis                         Chandra Mani
 and interpretation of the data. To select the appropriate statistical method, one need to know the                           Pandey,
 assumption and conditions of the statistical methods, so that proper statistical method can be selected
 for data analysis. Two main statistical methods are used in data analysis: descriptive statistics, which
                                                                                                                              Uttam Singh,
 summarizes data using indexes such as mean and median and another is inferential statistics, which                           Amit Keshri1,
 draw conclusions from data using statistical tests such as student's t-test. Selection of appropriate                        Mayilvaganan
 statistical method depends on the following three things: Aim and objective of the study, Type and                           Sabaretnam2
 distribution of the data used, and Nature of the observations (paired/unpaired). All type of statistical                     Departments of Biostatistics
 methods that are used to compare the means are called parametric while statistical methods used to                           and Health Informatics,
 compare other than means (ex-median/mean ranks/proportions) are called nonparametric methods. In                             1Neuro-otology and 2Endocrine

 the present article, we have discussed the parametric and non-parametric methods, their assumptions,                         Surge1y, Sanjay Gandhi
 and how to select appropriate statistical methods for analysis and interpretation of the biomedical                          Post Graduate I nstitute of
 data.                                                                                                                        Medical Sciences, Lucknow,
                                                                                                                              Uttar Pradesh, India
              Diagnostic accuracy, parametric and nonparametric methods, regression analysis,
 statistical method, survival analysis


Introduction                                                         the data which does not follow the n01mal
                                                                     distribution, etc., At present, many statistical
Selection of appropriate statistical method
                                                                     software like SPSS, R, Stata, and SAS
is ve1y important step in analysis of
                                                                     are available and using these softwares,
biomedical data. A wrong selection of the
                                                                     one can easily perfonn the statistical
statistical method not only creates some
                                                                     analysis but selection of appropriate
serious problem during the inte1pretation of
                                                                     statistical test is still a difficult task for
the findings but also affects the conclusion
                                                                     the biomedical researchers especially those
of the study. In statistics, for each specific
                                                                     with nonstatistical background.l21 Two main
situation, statistical methods are available
                                                                     statistical methods are used in data analysis:
to analysis and interpretation of the data.
                                                                     descriptive statistics, which summarizes
To select the appropriate statistical method,
                                                                     data using indexes such as mean, median,
one need to know the assumption and
                                                                     standard deviation and another is inferential
conditions of the statistical methods, so that
                                                                     statistics, which draws conclusions from
proper statistical method can be selected
                                                                     data using statistical tests such as student's
for data analysis.Ul Other than knowledge
                                                                     t-test, ANOVA test, etc.131
of the statistical methods, another very
important aspect is nature and type of the                           Factors Influencing Selection                      of    Address for correspon.den.ce:
data collected and objective of the study                            Statistical Methods                                      Dr. Prabhaker Mishra,
because as per objective, corresponding                                                                                       Department of Biostatistics
statistical methods are selected which are                           Selection of appropriate statistical method              and Health Informatics, Sanjay
                                                                     depends on the following three things:                   Gandhi Post Graduate Institute
suitable on given data. Practice of wrong                                                                                     of Medical Science.s, Lucknow,
or inappropriate statistical method is a                             Aim and objective of the study, Type and                 Uttar Pradesh, India.
common phenomenon in the published                                   distribution of the data used, and Nature of             E-mail mishrapk79@gmail.com
a1ticles in biomedical research. Incorrect                           the obse1vations (paired/unpaired).
statistical methods can be seen in many                              Aim and objective of the study
conditions like use of unpaired t-test on
paired data or use of parametric test for                            Selection of statistical test depends upon               Website: www.annals.in
                                                                     our aim and objective of the study. Suppose              DOI: 10 .41 03/aca.ACA_248_18
                                                                     our objective is to find out the predictors                  Qui ck Reaponae Code:
This is an open access journal, and articles are                     of the outcome variable, then regression
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as long as appropriat e credit is given and the new creations are    Singh U, Keshri A , Sabaretnam M. Selection of
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        Case 3:21-cr-00042-JAG Document 72-6 Filed 04/22/22 Page 2 of 5 PageID# 727
                                         Mishra, et al.: Statistical methods for data analysis


analysis is used while to compare the means between two               called parametric while statistical methods used to compare
independent samples, unpaired samples t‑test is used.                 other than means (ex‑median/mean ranks/proportions) are
                                                                      called nonparametric methods. Parametric tests rely on
Type and distribution of the data used
                                                                      the assumption that the variable is continuous and follow
For the same objective, selection of the statistical test is          approximate normally distributed. When data is continuous
varying as per data types. For the nominal, ordinal, discrete         with non‑normal distribution or any other types of data
data, we use nonparametric methods while for continuous               other than continuous variable, nonparametric methods
data, parametric methods as well as nonparametric methods             are used. Fortunately, the most frequently used parametric
are used.[4] For example, in the regression analysis, when            methods have nonparametric counterparts. This can be
our outcome variable is categorical, logistic regression              useful when the assumptions of a parametric test are
while for the continuous variable, linear regression model            violated and we can choose the nonparametric alternative
is used. The choice of the most appropriate representative            as a backup analysis.[3]
measure for continuous variable is dependent on how the
values are distributed. If continuous variable follows normal         Selection between Parametric and
distribution, mean is the representative measure while                Nonparametric Methods
for non‑normal data, median is considered as the most
                                                                      All type of the t‑test, F test are considered parametric
appropriate representative measure of the data set. Similarly
                                                                      test. Student’s t‑test (one sample t‑test, independent
in the categorical data, proportion (percentage) while for
                                                                      samples t‑test, paired samples t‑test) is used to compare
the ranking/ordinal data, mean ranks are our representative
                                                                      the means between two groups while F test (one‑way
measure. In the inferential statistics, hypothesis is
                                                                      ANOVA, repeated measures ANOVA, etc.) which is the
constructed using these measures and further in the
                                                                      extension of the student’s t‑test are used to compare
hypothesis testing, these measures are used to compare
                                                                      the means among three or more groups. Similarly,
between/among the groups to calculate significance level.
                                                                      Pearson correlation coefficient, linear regression is also
Suppose we want to compare the diastolic blood pressure
                                                                      considered parametric methods, is used to calculate
(DBP) between three age groups (years) (<30, 30‑‑50, >50).
                                                                      using mean and standard deviation of the data. For
If our DBP variable is normally distributed, mean value is
                                                                      above parametric methods, counterpart nonparametric
our representative measure and null hypothesis stated that
                                                                      methods are also available. For example, Mann‑‑Whitney
mean DBP values of the three age groups are statistically
                                                                      U test and Wilcoxon test are used for student’s t‑test
equal. In case of non‑normal DBP variable, median value is
                                                                      while Kruskal‑‑Wallis H test, median test, and Friedman
our representative measure and null hypothesis stated that
                                                                      test are alternative methods of the F test (ANOVA).
distribution of the DBP values among three age groups are
                                                                      Similarly, Spearman rank correlation coefficient and log
statistically equal. In above example, one‑way ANOVA test
                                                                      linear regression are used as nonparametric method of the
is used to compare the means when DBP follows normal
                                                                      Pearson correlation and linear regression, respectively.
distribution while Kruskal‑‑Wallis H tests/median tests               [3,5‑8]
                                                                              Parametric and their counterpart nonparametric
are used to compare the distribution of DBP among three
                                                                      methods are given in Table 1.
age groups when DBP follows non‑normal distribution.
Similarly, suppose we want to compare the mean arterial               Statistical Methods to Compare the Proportions
pressure (MAP) between treatment and control groups, if
our MAP variable follows normal distribution, independent             The statistical methods used to compare the proportions
samples t‑test while in case follow non‑normal distribution,          are considered nonparametric methods and these
Mann‑‑Whitney U test are used to compare the MAP                      methods have no alternative parametric methods. Pearson
between the treatment and control groups.                             Chi‑square test and Fisher exact test is used to compare the
                                                                      proportions between two or more independent groups. To
Observations are paired or unpaired                                   test the change in proportions between two paired groups,
Another important point in selection of the statistical               McNemar test is used while Cochran Q test is used for the
test is to assess whether data is paired (same subjects               same objective among three or more paired groups. Z test
are measures at different time points or using different              for proportions is used to compare the proportions between
methods) or unpaired (each group have different subject).             two groups for independent as well as dependent groups.[6‑8]
For example, to compare the means between two groups,                 [Table 2].
when data is paired, paired samples t‑test while for unpaired
(independent) data, independent samples t‑test is used.               Other Statistical Methods
                                                                      Intraclass correlation coefficient is calculated when both pre‑
Concept of Parametric and Nonparametric Methods                       post data are in continuous scale. Unweighted and weighted
Inferential statistical methods fall into two possible                Kappa statistics are used to test the absolute agreement
categorizations: parametric and nonparametric. All type of            between two methods measured on the same subjects (pre‑
statistical methods those are used to compare the means are           post) for nominal and ordinal data, respectively. There

2 9 8                                                         A nnals of C ardiac A naesthesia | V olu me 2 2 | I ssu e 3 | Ju   ly- Sep temb er 2 0 1 9
        Case 3:21-cr-00042-JAG Document 72-6 Filed 04/22/22 Page 3 of 5 PageID# 728
                                                       Mishra, et al.: Statistical methods for data analysis



                                    Table 1: Parametric and their Alternative Nonparametric Methods
Description                                 Parametric Methods                                                 Nonparametric Methods
Descriptive statistics                      Mean, Standard deviation                                           Median, Interquartile range
Sample with population (or                  One sample t‑test (n <30) and One sample Z‑test                    One sample Wilcoxon signed rank test
hypothetical value)                         (n ≥30)
Two unpaired groups                         Independent samples t‑test (Unpaired samples t‑test)               Mann Whitney U test/Wilcoxon rank sum test
Two paired groups                           Paired samples t‑test                                              Related samples Wilcoxon signed‑rank test
Three or more unpaired groups               One‑way ANOVA                                                      Kruskal‑Wallis H test
Three or more paired groups                 Repeated measures ANOVA                                            Friedman Test
Degree of linear relationship               Pearson’s correlation coefficient                                  Spearman rank correlation coefficient
between two variables
Predict one outcome variable by             Linear regression model                                            Nonlinear regression model/Log linear
at least one independent variable                                                                              regression model on log normal data


                                           Table 2: Statistical Methods to Compare the Proportions
Description                                                                                  Statistical Methods                 Data Type
Test the association between two categorical variables                                       Pearson Chi‑square test/Fisher      Variable has ≥2 categories
(Independent groups)                                                                         exact test
Test the change in proportions between 2/3 groups (paired groups)                            McNemar test/Cochrane Q test        Variable has 2 categories
Comparisons between proportions                                                              Z test for proportions              Variable has 2 categories


are some methods those are either semiparametric or                                      Advantage and Disadvantages of Nonparametric
nonparametric and these methods, counterpart parametric                                  Methods over Parametric Methods and Sample
methods, are not available. Methods are logistic regression                              Size Issues
analysis, survival analysis, and receiver operating
characteristics curve.[9] Logistic regression analysis is used to                        Parametric methods are stronger test to detect the difference
predict the categorical outcome variable using independent                               between the groups as compared with its counterpart
variable(s). Survival analysis is used to calculate the                                  nonparametric methods, although due to some strict
survival time/survival probability, comparison of the                                    assumptions, including normality of the data and sample
survival time between the groups (Kaplan‑‑Meier method)                                  size, we cannot use parametric test in every situation and
as well as to identify the predictors of the survival time                               resultant its alternative nonparametric methods are used.
of the subjects/patients (Cox regression analysis). Receiver                             As mean is used to compare parametric method, which is
operating characteristics (ROC) curve is used to calculate                               severally affected by the outliers while in nonparametric
area under curve (AUC) and cutoff values for given                                       method, median/mean rank is our representative measures
continuous variable with corresponding diagnostic accuracy                               which do not affect from the outliers.[11]
using categorical outcome variable. Diagnostic accuracy                                  In parametric methods like student’s t‑test and ANOVA
of the test method is calculated as compared with another                                test, significance level is calculated using mean and
method (usually as compared with gold standard method).                                  standard deviation, and to calculate standard deviation in
Sensitivity (proportion of the detected disease cases from the                           each group, at least two observations are required. If every
actual disease cases), specificity (proportion of the detected                           group did not have at least two observations, its alternative
non‑disease subjects from the actual non‑disease subjects),                              nonparametric method to be selected works through
overall accuracy (proportion of agreement between test and                               comparisons of the mean ranks of the data.
gold standard methods to correctly detect the disease and
non‑disease subjects) are the key measures used to assess                                For small sample size (average ≤15 observations
the diagnostic accuracy of the test method. Other measures                               per group), normality testing methods are less sensitive
like false negative rate (1‑sensitivity), false‑positive                                 about non‑normality and there is chance to detect normality
rate (1‑specificity), likelihood ratio positive (sensitivity/                            despite having non‑normal data. It is recommended
false‑positive rate), likelihood ratio negative (false‑negative                          that when sample size is small, only on highly normally
rate/Specificity), positive predictive value (proportion                                 distributed data, parametric method should be used
of correctly detected disease cases by the test variable                                 otherwise corresponding nonparametric methods should
out of total detected disease cases by the itself), and                                  be preferred. Similarly on sufficient or large sample size
negative predictive value (proportion of correctly detected                              (average >15 observations per group), most of the statistical
non‑disease subjects by test variable out of total non‑disease                           methods are highly sensitive about non‑normality and there
subjects detected by the itself) are also used to calculate the                          is chance to wrongly detect non‑normality, despite having
diagnostic accuracy of the test method.[3,6,10] [Table 3].                               normal data. It is recommended that when sample size is

A nnals of C ardiac A naesthesia | V olu me 2 2 | I ssu e 3 | Ju   ly- Sep temb er 2 0 1 9                                                              2 9 9
        Case 3:21-cr-00042-JAG Document 72-6 Filed 04/22/22 Page 4 of 5 PageID# 729
                                                 Mishra, et al.: Statistical methods for data analysis



                                     Table 3: Semi‑parametric and non‑parametric methods
Description                                        Statistical methods       Data type
To predict the outcome variable using              Binary Logistic regressionOutcome variable (two categories), Independent variable (s):
independent variables                              analysis                  Categorical (≥2 categories) or Continuous variables or both
To predict the outcome variable using              Multinomial Logistic      Outcome variable (≥3 categories), Independent variable (s):
independent variables                              regression analysis       Categorical (≥2 categories) or continuous variables or both
Area under Curve and cutoff values in the          Receiver operating        Outcome variable (two categories), Test variable :
continuous variable                                characteristics (ROC) curve
                                                                             Continuous
To predict the survival probability of the         Life table analysis       Outcome variable (two categories), Follow‑up time :
subjects for the given equal intervals                                       Continuous variable
To compare the survival time in ≥2 groups      Kaplan‑‑Meier curve           Outcome variable (two categories), Follow‑up time :
with P                                                                       Continuous variable, One categorical group variable
To assess the predictors those influencing the Cox regression analysis       Outcome variable (two categories), Follow‑up time :
survival probability                                                         Continuous variable, Independent variable(s): Categorical
                                                                             variable(s) (≥2 categories) or continuous variable(s) or both
To predict the diagnostic accuracy of the test Diagnostic accuracy           Both variables (gold standard method and test method)
variable as compared to gold standard method (Sensitivity, Specificity etc.) should be categorical (2 × 2 table)
Absolute Agreement between two diagnostic Unweighted and weighted            Between two Nominal variables (unweighted Kappa),
methods                                        Kappa statistics/Intra class  Two Ordinal variables (Weighted kappa), Two Continuous
                                               correlation                   variables (Intraclass correlation)


sufficient, only on highly non‑normal data, nonparametric                     mean difference was statistically significant (P = 0.011).
method should be used otherwise corresponding parametric                      Due to incorrect practice, we detected the statistically
methods should be preferred.[12]                                              significant difference between the groups although actually
                                                                              difference did not exist.
Minimum Sample Size Required for Statistical Methods
To detect the significant difference between the                              Conclusions
means/medians/mean ranks/proportions, at minimum                              Selection of the appropriate statistical methods is very
level of confidence (usually 95%) and power of the test                       important for the quality research. It is important that
(usually 80%), how many individuals/subjects (sample size)                    a researcher knows the basic concepts of the statistical
are required depends on the detected effect size. The effect                  methods used to conduct research study that produce a valid
size and corresponding required sample size are inversely                     and reliable results. There are various statistical methods
proportional to each other, that is, on the same level of                     that can be used in different situations. Each test makes
confidence and power of the test, when effect size is                         particular assumptions about the data. These assumptions
increasing, required sample size is decreasing. Summary                       should be taken into consideration when deciding which
is, no minimum or maximum sample size is fix for any                          the most appropriate test is. Wrong or inappropriate use
particular statistical method and it is subject to estimate                   of statistical methods may lead to defective conclusions,
based on the given inputs including effect size, level of                     finally would harm the evidence‑based practices. Hence, an
confidence, power of the study, etc., Only on the sufficient                  adequate knowledge of statistics and the appropriate use of
sample size, we can detect the difference significantly. In                   statistical tests are important for improving and producing
case lack of the sample size than actual required, our study                  quality biomedical research. However, it is extremely
will be under power to detect the given difference as well                    difficult for a biomedical researchers or academician to
as result would be statistically insignificant.                               learn the entire statistical methods. Therefore, at least
                                                                              basic knowledge is very important so that appropriate
Impact of Wrong Selection of the Statistical
                                                                              selection of the statistical methods can decide as well
Methods                                                                       as correct/incorrect practices can be recognized in the
As for each and every situation, there are specific statistical               published research. There are many softwares available
methods. Failing to select appropriate statistical method,                    online as well as offline for analyzing the data, although
our significance level as well as their conclusion is                         it is fact that which set of statistical tests are appropriate
affected.[13] For example in a study, systolic blood pressure                 for the given data and study objective is still very difficult
(mean ± SD) of the control (126.45 ± 8.85, n1 = 20) and                       for the researchers to understand. Therefore, since planning
treatment (121.85 ± 5.96, n2 = 20) group was compared                         of the study to data collection, analysis and finally in the
using Independent samples t‑test (correct practice). Result                   review process, proper consultation from statistical experts
showed that mean difference between two groups was                            may be an alternative option and can reduce the burden
statistically insignificant (P = 0.061) while on the same                     from the clinicians to go in depth of statistics which
data, paired samples t‑test (incorrect practice) indicated that               required lots of time and effort and ultimately affect their

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         Case 3:21-cr-00042-JAG Document 72-6 Filed 04/22/22 Page 5 of 5 PageID# 730
                                                       Mishra, et al.: Statistical methods for data analysis


clinical works. These practices not only ensure the correct                              3.    Mishra P, Mayilvaganan S, Agarwal A. Statistical methods in endocrine
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research but also ensure the highest quality of statistical                              4.    Mishra P, Pandey CM, Singh U, Gupta A. Scales of measurement and
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A nnals of C ardiac A naesthesia | V olu me 2 2 | I ssu e 3 | Ju   ly- Sep temb er 2 0 1 9                                                                         3 0 1
